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·1· of these QAnon terms as sales codes for customers to
·2· dial in and buy their MyPillows using terms like QAnon.
·3· Are you alleging here that QAnon is sort of at the core
·4· of the MyPillow business strategy overall, or was this
·5· just kind of a fringe thing that they were doing on the
·6· side of the overall business?
·7· · · · · · JOHN POULOS:· The codes in particular are a
·8· great example of just how reckless Mr. Lindell was in
·9· his peddling of disinformation and the falsities.
10· Depending on the program he was on, he would offer
11· different promo codes to lure voters to his website for
12· the ultimate goal of making money.
13· · · · · · EAMON JAVERS:· John, I've got to let you go
14· here, but last question for you.· Is this the last
15· lawsuit we're going to see from you, or are there other
16· people in your sights here?
17· · · · · · JOHN POULOS:· This is definitely not the last
18· lawsuit.· As I've said many times before, we are taking
19· a very measured evidence-based approach as to what we
20· file next, but -- and we are not ruling anyone out.
21· · · · · · EAMON JAVERS:· Fox News on your list?
22· · · · · · JOHN POULOS:· We are not ruling anybody out.
23· · · · · · EAMON JAVERS:· Okay.· John Poulos, thanks so
24· much for joining us.· Wilfred, I'll toss it back over to
25· you at headquarters.


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·1· · · · · · SHEPARD SMITH:· Shepard Smith here.· Thanks
·2· for watching CNBC on You Tube.
·3· · · · · · (End of recording.)
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